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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

 KENNETH WALKER, III,                                                                       Plaintiff,

 v.                                                         Civil Action No. 3:21-cv-161-DJH-LLK

 LOUISVILLE/JEFFERSON COUNTY
 METRO GOVERNMENT et al.,                                                                Defendants.

                                              * * * * *

                                               ORDER

          The parties having filed stipulations of dismissal with prejudice as to all remaining claims

 in this matter (Docket No. 91; D.N. 92), and the Court being otherwise sufficiently advised, it is

 hereby

          ORDERED that this action is DISMISSED with prejudice and is STRICKEN from the

 Court’s active docket.

          December 7, 2022




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